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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

JOSE G. DE LA GARZA,                       §
                                           §
             Plaintiff,                    §
                                           §
V.                                         §          No. 3:13-cv-3283-L-BN
                                           §
VA MED. HOSPITAL, ET AL.,                  §
                                           §
             Defendants.                   §

      FINDINGS, CONCLUSIONS, AND RECOMMENDATION OF THE
                UNITED STATES MAGISTRATE JUDGE

      Plaintiff Jose G. De La Garza, appearing pro se, filed this civil action alleging

that he was subjected to mistreatment during his visit to the Dallas VA Medical

Center. See Dkt. No. 3. For the reasons stated herein, the complaint should be

dismissed without prejudice pursuant to Fed. R. Civ. P. 41(b).

                                    Background

      On August 21, 2013, Plaintiff filed a complaint seeking $50,000 in damages due

to alleged negligence and rude behavior by employees of the Dallas VA Medical Center.

The Court granted leave to proceed in forma pauperis and allowed the complaint to be

filed. See Dkt. No. 7. On August 22, 2013, the Court sent written interrogatories to

Plaintiff in order to obtain additional information about the factual basis of his suit.

See Dkt. No. 8. Plaintiff answered the interrogatories on September 12, 2013. See Dkt.

No. 9. Based on the responses, the Court sent another questionnaire to determine

whether Plaintiff exhausted administrative remedies under the Federal Tort Claims


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Act. See Dkt. No. 10. Plaintiff was warned that the failure to answer the

interrogatories within 20 days “may result in the dismissal of the complaint for failure

to prosecute pursuant to Fed. R. Civ. P. 41(b).” Id. at 1.

      Plaintiff did not respond to the second questionnaire. On October 24, 2013, the

Court re-sent the second set of interrogatories to Plaintiff. Plaintiff was admonished

that failure to accurately and adequately complete the questionnaire by November 13,

2013 “may result in the imposition of sanctions, including dismissal of the action for

want of prosecution.” Dkt. No. 11 at 2. Plaintiff again failed to respond to the second

questionnaire. The undersigned then recommended that the case be dismissed without

prejudice pursuant to Fed. R. Civ. P. 41(b). See Dkt. No. 12.

      Plaintiff then submitted correspondence indicating that he was hospitalized and

unable to timely comply with the Court’s order. See Dkt. No. 13. The Court construed

the document as a motion seeking an extension of time to file his response to the

Magistrate Judge’s Second Questionnaire, vacated the recommendation of Rule 41(b)

dismissal, and granted Plaintiff one final opportunity to respond to the interrogatories

by December 24, 2013. See Dkt. No. 15. The undersigned warned, again, that “failure

to file answers to the Second Questionnaire may result in the dismissal of the

complaint for failure to prosecute pursuant to Fed. R. Civ. P. 41(b).” Dkt. No. 15.

      Over week after the new deadline, Plaintiff has, once again, failed to comply.

                                   Legal Standards

      A district court has authority to dismiss a case for want of prosecution or for

failure to comply with a court order. FED. R. CIV. P. 41(b); see also Larson v. Scott, 157

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F.3d 1030, 1031 (5th Cir. 1998). This authority “flows from the court’s inherent power

to control its docket and prevent undue delays in the disposition of pending cases.”

Boudwin v. Graystone Ins. Co., 756 F.2d 399, 401 (5th Cir. 1985). Such a dismissal may

be with or without prejudice. See Long v. Simmons, 77 F.3d 878, 879-80 (5th Cir. 1996).

A dismissal with prejudice is appropriate only if the failure to comply with the court

order was the result of purposeful delay or contumacious conduct and the imposition

of lesser sanctions would be futile. Id. at 880; see also Berry v. CIGNA/RSI-CIGNA,

975 F.2d 1188, 1191 (5th Cir. 1992).

                                         Analysis

       The Court sent written interrogatories to Plaintiff more than three months ago.

Plaintiff has not answered the interrogatories despite repeated warnings that his

failure to do so would result in the dismissal of the case.

       The Court must obtain additional information about the factual basis of this suit

in order to screen the complaint and determine whether the Defendants should be

served. The inability to proceed with this litigation is directly attributable to Plaintiff’s

failure to provide the information requested.

       Dismissal is warranted under these circumstances. See Wiggins v. Management

and Training Corp., No. 3:03-cv-1547-L, 2003 WL 22259080, at *1 (N.D. Tex. Sept. 25,

2003), rec. adopted, 2003 WL 22415739 (N.D. Tex. Oct. 20, 2003) (dismissing complaint

for failure to answer written interrogatories); accord Champagne v. Zoley, No.

3:08-cv-2264-D, 2009 WL 980138 (N.D. Tex. Apr. 10, 2009).



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                                  Recommendation

      The Court should dismiss Plaintiff’s case without prejudice pursuant to Fed. R.

Civ. P. 41(b). Plaintiff’s motion to appoint counsel [Dkt. No. 5] should be denied.

      A copy of these findings, conclusions, and recommendation shall be served on all

parties in the manner provided by law. Any party who objects to any part of these

findings, conclusions, and recommendation must file specific written objections within

14 days after being served with a copy. See 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72(b).

In order to be specific, an objection must identify the specific finding or

recommendation to which objection is made, state the basis for the objection, and

specify the place in the magistrate judge’s findings, conclusions, and recommendation

where the disputed determination is found. An objection that merely incorporates by

reference or refers to the briefing before the magistrate judge is not specific. Failure

to file specific written objections will bar the aggrieved party from appealing the

factual findings and legal conclusions of the magistrate judge that are accepted or

adopted by the district court, except upon grounds of plain error. See Douglass v.

United Services Auto. Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).

      DATED: January 2, 2014



                                         _________________________________________
                                         DAVID L. HORAN
                                         UNITED STATES MAGISTRATE JUDGE




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